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8                               UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT COURT OF CALIFORNIA
10                                    SOUTHERN DIVISION
11     UNITED NATIONAL INSURANCE                      CASE NO. 8:20-cv-00086 JVS (DFMx)
       COMPANY,
12                                                    JUDGMENT
                   Plaintiff,
13
       v.
14
       KUAN YIH WUO aka KATHY WUO, an
15     individual, STEVE TSU-PONG WUO, an
       individual; and DOES 1 through 50,
16     inclusive,
17                 Defendants.
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20          This action came before the Court on a Motion for Summary Judgment filed by

21    Plaintiff United National Insurance Company against Defendants Kuan Yih Wuo aka

22    Kathy Wuo and Steve Tsu-Pong Wuo, on November 16, 2020, Honorable James V.

23    Selna, District Judge Presiding, and the evidence presented having been fully considered,

24    the issues having been duly heard and a decision having been duly rendered, and the

25    Court having considered Defendants’ objections to the proposed Judgment,

26          IT IS HEREBY ORDERED AND ADJUDGED that Judgment is entered in favor

27    of Plaintiff United National Insurance Company and against Defendants Kuan Yih Wuo

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       JUDGMENT                                   1         CASE NO. 8:20-cv-00086 JVS (DFMx)
     Case 8:20-cv-00086-JVS-DFM Document 34 Filed 11/30/20 Page 2 of 2 Page ID #:693



1     aka Kathy Wuo, an individual and Steve Tsu-Pong Wuo, an individual, on Plaintiff’s
2     claim for breach of contract, common count for money owed, and declaratory relief.
3           Plaintiff shall recover the sum of $237,500 (two hundred and thirty-seven
4     thousand, five hundred thousand dollars), jointly and severally, from Defendants Kuan
5     Yih Wuo aka Kathy Wuo, an individual and Steve Tsu-Pong Wuo, an individual.
6           Plaintiff shall further recover pre-judgment interest on the sum of $185,000
7     commencing from April 5, 2019, to the date the judgment is entered at 10% per annum,
8     for an additional sum of $30.664.38 ($185,000 x .10 x 605/365) jointly and severally,
9     from Defendants Kuan Yih Wuo aka Kathy Wuo, an individual and Steve Tsu-Pong
10    Wuo, an individual.
11          Plaintiff shall further recover costs in the sum of $                  , jointly and
12    severally, from Defendants Kuan Yih Wuo aka Kathy Wuo, an individual and Steve Tsu-
13    Pong Wuo, an individual.
14          The Court DECLARES that United National Insurance Company policy number
15    L7720579, in effect from March 9, 2015, and renewed twice annually through March 9,
16    2018, requires United National Insurance Company to pay damages and “Claims
17    Expense” on behalf of the insured only when such damages or “Claims Expense” exceed
18    $2,500 per each individual claimant, and the payment of $2,500 per each individual
19    claimant is the responsibility of the insured.
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23    Dated: November 30, 2020
                                              Honorable James V. Selna
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                                              UNITED STATES DISTRICT JUDGE
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       JUDGMENT                                        2      CASE NO. 8:20-cv-00086 JVS (DFMx)
